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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF IOWA
UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
                        vs.                  )   Case No. 4:16-cr-00089-JEG-CFB
                                             )
ADAM LEVI PETRIE,                            )
                                             )
                      Defendant.             )

    REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY

        The United States of America and the Defendant, having both filed a written consent,

appeared before me pursuant to Rule 11, Fed. R. Crim. P. and L. Cr. R. 11. The Defendant

entered a plea of guilty to Count 1 of the Superseding Indictment.          After cautioning and

examining the Defendant under oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowing and voluntary as to each count, and that the offense

charged is supported by an independent factual basis concerning each of the essential elements of

such offense. Defendant understands and agrees to be bound by the terms of the Plea Agreement.

I, therefore, recommend that the plea of guilty be accepted, that a pre-sentence investigation and

report be prepared, and that the Defendant be adjudged guilty and have sentence imposed

accordingly.


                     /1---Zo-/'7
Date                                         CELESTE F. BREMER
                                             CHIEF UNITED STATES MAGISTRATE JUDGE


                                            NOTICE

Failure to file written objections to this Report and Recommendation within fourteen (14) days
from the date of its service shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. 636(b)(l)(B).
